            Case 1:18-cr-10013-RGS Document 76 Filed 10/23/18 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                ]
                                        ]
V.                                      ]                       CR. NO. 18-10013-RGS
                                        ]
GARY P. DeCICCO                         ]


       GARY P. DeCICCO’S RESPONSE TO COURT ORDER OF OCTOBER 16, 2018

        On October 16, 2018, the parties appeared before the Court in this matter. The Court

directed the parties to confer and to identify any areas of agreement and disagreement relative to

the defendant’s request for modification of his conditions of release. The parties were further

ordered to file, jointly or separately, a response.

        The parties have conferred and can report that there are a some limited areas of agreement

but overall there is substantial disagreement remaining. Herein is Mr. DeCicco’s proposal for

modification of his conditions of release.1


Additional Conditions of Release:

7. The defendant must:
       (a) submit to supervision by and report for supervision ... as directed by probation.

        No modification of this condition is sought.

        (b) continue or actively seek employment ... as approved by PTS - no real estate sales.

        The defendant requests removal of this condition, and in it’s place to impose
        the obligation to provide the government with a copy of any executed Offer to


        1
        . Numbered references are to the conditions set forth in the Order signed by the Court on June
15, 2018.

                                                  -1-
  Case 1:18-cr-10013-RGS Document 76 Filed 10/23/18 Page 2 of 4



Purchase within seven days of its signing and a copy of any Purchase and Sale
Agreement at least thirty days in advance of closing as to any property that the
govt currently alleges is a directly forfeitable asset (rather than an alleged
substitute asset). If the government objects to the sale of the property such
objection shall be made to the Court and a hearing shall be scheduled to rule on
the objection. In the event the Court orders or allows the sale to proceed, then the
proceeds thereof shall be received in escrow and disbursed in accordance with the
Court’s order. As to any sale that does not have the prior approval of the Court all
proceeds of the sale shall be held by the escrow agent at closing until a final order
of the Court.

...

(f) reside at address stated in court, Winthrop. Travel restricted to D. MA unless
otherwise approved by PTS.

There is no request to modify this condition.

(g) avoid all contact, directly or indirectly with any person who is or may be a victim or
witness in the investigation or prosecution, including: list as provided by the government.

The defendant seeks modification of this condition as to one person on the
government’s list.

Pamela Avedesian is a co-defendant in this case who is alleged to have complicity in an
improper “short sale” of real estate in Nahant. Mr. DiCicco and Ms. Avedesian have a
child, Linda DiCicco, who lives at home with Ms. Avedesian and for whose support and
welfare both DiCicco and Avedesian are responsible. DeCicco absolutely should have
the right to communicate directly with Avedesian.

...

(p) (1) Curfew. You are restricted to your residence every day from 10:00 pm to 6:00 am

Mr. DeCicco requests removal of this condition. In many cases a restriction on a
person’s activity in relation to time and place is appropriate, e.g., drug distribution cases,
etc or upon a showing of a risk of flight. This is not such a case. The counts in this
indictment allege activities that are nonviolent. Each refers to alleged acts that essentially
are financial crimes. Where crimes alleged are not of the nature that would necessitate
time restrictions, and since there is no finding nor any evidence known to the defendant
that would demonstrate that the defendant is a risk of flight, this condition is unnecessary.

(q) Submit to location monitoring as directed by pretrial services ...


                                         -2-
      Case 1:18-cr-10013-RGS Document 76 Filed 10/23/18 Page 3 of 4




Mr. DeCicco requests removal of this condition as unnecessary, overly restrictive, and
burdensome. Although electronic monitoring has its place in tracking persons on pretrial
release, home confinement, or as an alternative to a jail sentence, this is not a case where
it is a necessary condition, and the purpose is both unclear and undefined. If electronic
monitoring in this case is to assure that the defendant simply does not travel beyond
established limits or complies with curfew, then it is not appropriate to supervision in a
financial crimes case where there is no demonstrable risk of flight. If its purpose is to
assure that the defendant does not flee, it is equally unnecessary as he has no record of
defaults, his parents (who are living in retirement and on fixed income) have posted a
$50,000.00 cash bail to assure his compliance with conditions and appearance at trial, and
he would be severely jeopardized in contesting the broad forfeiture allegations if he was
not place himself outside the jurisdiction of the court.

Furthermore, Mr. DeCicco has been caused the undue burden of repeatedly charging and
recharging the monitor’s battery packs due to the excessive drain that is likely caused by
poor cellular connection in the North Shore areas where he routinely travels in the course
of his daily activities. The device itself, and the frequent beeping at low power, has been
the cause of undue embarrassment and humiliation which exceeds any legitimate purpose
of routine pretrial supervision.

Finally, since electronic monitoring in this case is not a necessary condition it serves only
as an unconstitutional search and seizure, invasion of privacy, and restraint on personal
liberty.

...

(s) No new lines of credit; No transfer of assets >$1K w/o notice to USAO with exception
of ordinary personal expenses; no buying or selling of assets in names of others. Do not
hide or dissipate assets.

Mr. DeCicco requests modification of this condition and addresses each portion of
the condition separately.

1. Credit lines. Mr. DeCicco requests modification of this condition to be allowed with
prior approval by Pretrial Services or the Court.

2. No transfer of assets in excess of $1000.00 without notice to USAO, with the
exception of ordinary personal expenses. Mr. DeCicco requests modification of this
provision so as to eliminate any notice to the government or any transaction whatsoever
except when it involves an asset to which the government claims a right as an alleged
forfeitable asset. Otherwise, the mandatory provision of any information to the
government violates his constitutional rights including his 4th and 5th Amendment rights.


                                         -3-
          Case 1:18-cr-10013-RGS Document 76 Filed 10/23/18 Page 4 of 4




       Nonetheless, Mr. DeCicco proposes that in the event that he seeks to sell any such asset,
       he will provide a copy of the executed Offer within five days of execution and a copy of
       the Purchase and Sale Agreement at least 30 days prior to the closing of the transaction,
       all subject to the provisions detailed above. See response to condition 7(b) .

       Though the original conditions were the product of an agreement with the government,

the circumstances that existed at the time Mr. DiCicco agreed to them are substantially different

than those existing today.

       Mr. DeCicco respectfully requests the Court to adopt his request for modification of the

conditions indicated in this report.
                                                       Respectfully submitted,
                                                       GARY P. DECICCO
                                                       By his counsel of record,

                                                       /s/ James J. Cipoletta
                                                       ______________________
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                                            Certification

I certify that this document, filed through the ECF system, provides electronic copies to the
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                                                       /s/ James J. Cipoletta




                                                 -4-
